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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             Alexandria Division

 In Re:

 DANIEL ASIAMA                                 Case No. 15-11009-BFK

     Debtor                                           (Chapter 13)



                                 ORDER


      THIS MATTER came on the return of a Garnishment

 Summons(Docket Item No. 108) against Sara Banks based on the

 Judgment Order issued by this court against her (Docket Item No.

 55), and it appearing that the respondent, the U.S. Department

 of the Interior, has sent checks representing the garnishable

 portion of the judgment debtor’s wages, which checks are now

 being held by the Clerk of the Court, and upon the appearance of

 and argument of the judgment debtor, Sara Banks, and it

 appearing that the debtor has completed all of his Plan payments

 and has received a discharge in this case, (Docket Items Nos.

 114 and 117) and it appearing otherwise proper, it is hereby

      ORDERED that the checks held by the clerk shall be turned

 over to his counsel, Richard G. Hall, and that the debtor DANIEL

 ASIAMA, shall cooperate with either Richard G. Hall in having

 them endorsed and deposited into his counsel’s account, and that

 the debtor and Richard G. Hall are permitted to apportion the
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 proceeds between themselves with no distribution to the Chapter

 13 Trustee.


                Jun 27 2016
      Signed this     day of                   , 2016


                                    /s/ Brian F. Kenney
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 Nathan A. Fisher
 Counsel for the Debtor
 3977 Chain Bridge Road, #2
 Fairfax, Virginia 22030

 Sara Banks
 21672 Frame Square
 Ashburn, Virginia 20148
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      I hereby certify that on June 24, 2016 a true copy of this
 Order was mailed to Sara Banks at 21672 Frame Square, Ashburn,
 Virginia 20148.

                                               /s/ Richard G. Hall
